Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 1 of 13 PAGEID #: 1

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT |

for the 016 Ha om we
Southern District of Ohio ee ee TT
In the Matter of the Search of )
(Briefly describe the property to be searched )
or identify the person by name and address) j Case No.
THE CELLULAR TELEPHONE ASSIGNED CALL )
NUMBER 956-624-0140 THAT IS IN THE CUSTODY 5

OR CONTROL OF T-MOBILE
APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of jPeriury that I have reason to believe that on the following person or property (identify the person or describe the

it ne
mm BEM eae ba searel th 8 court 48" 4uthority to issue this warrant under 18 U.S.C. sections 2703(c)(1)(A) and 2711(3)

(A) and Federal Rule of Criminal Procedure 41.

located in the unknown District of unknown , there is now concealed (identify the

person or describe the property to be seized):

 

See Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
a evidence of a crime;
© contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;

© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. section 846 Possession with the intent to distribute and to distribute a controlled substance
21 U.S.C. section 841 and conspiracy to commit the same
21, U.S.C. § 843 Use of a communications facility to commit a felony

The application is based on these facts:

See Attached Affidavit.

* Continued on the attached sheet.

 

 

af Delayed notice of 30 days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set =

 

AAP SSI gnature
v A/ [fos

 

Vi 0 anton ith DEA

(Printed name e and nN

     

Sworn to before me and signed in my presence.

 

   

Date: { ¢| 4

City and state: Dayton, Ohio Michael J» Newman, United States Magistrate Judge
Printed name and title

ps et
Judge?s signatiwe /

 
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 2 of 13 PAGEID #: 2

ATTACHMENT A
Property to Be Searched
1. The cellular telephone assigned call number 956-624-01470, (the “Target Cell Phone”),
whose wireless service provider is T-MOBILE, a wireless telephone service provider
headquartered Parsippany, NJ.
2. Records and information associated with the Target Cell Phone that is within the
possession, custody, or control of T-MOBILE including information about the location

of the cellular telephone if it is subsequently assigned a different call number.
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 3 of 13 PAGEID #: 3

ATTACHMENT B
Particular Things to be Seized

I. Information to be Disclosed by the Provider

All information about the location of the Target Cell Phone described in Attachment A
for a period of thirty days, during all times of day and night. “Information about the location of
the Target Cell Phone” includes all available E-911 Phase II data, GPS data, latitude-longitude
data, and other precise location information, as well as all data about which “cell towers” (i.e.,
antenna towers covering specific geographic areas) and “sectors” (i.e., faces of the towers)
received a radio signal from the cellular telephone described in Attachment A.

To the extent that the information described in the previous paragraph (hereinafter,
“Location Information”) is within the possession, custody, or control of T-MOBILE, T-MOBILE
is required to disclose the Location Information to the government. In addition, T-MOBILE
must furnish the government all information, facilities, and technical assistance necessary to
accomplish the collection of the Location Information unobtrusively and with a minimum of
interference with T-MOBILE’s services, including by initiating a signal to determine the location
of the Target Cell Phone on T-MOBILE’s network or with such other reference points as may be
reasonably available, and at such intervals and times directed by the government. The
government shall compensate T-MOBILE for reasonable expenses incurred in furnishing such
facilities or assistance.

This warrant does not authorize the seizure of any tangible property. In approving this

warrant, the Court finds reasonable necessity for the seizure of the Location Information. See 18

U.S.C. § 3103a(b)(2).
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 4 of 13 PAGEID #: 4

II. Information to Be Seized by the Government

All information described above in Section I that constitutes evidence of violations of 21
U.S.C. § § 846 & 841(a)(1) (possession with the intent to distribute and to distribute a controlled
substance and conspiracy to commit the same and 21 U.S.C. § 843 (Use of a communication
facility to commit a felony.

Law enforcement personnel (who may include, in addition to law enforcement officers
and agents, attorneys for the government, attorney support staff, agency personnel assisting the
government in this investigation, and outside technical experts under government control) are
authorized to review the records produced by the Provider in order to locate the things

particularly described in this Warrant.
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 5 of 13 PAGEID #: 5

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISON

IN THE MATTER OF THE SEARCH OF
THE CELLULAR TELEPHONE ASSIGNED
CALL NUMBER 956-624-0140 THAT IS IN
THE CUSTODY OR CONTROL OF T-
MOBILE

Case No.

 

Filed Under Seal

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Task Force Officer Anthony Smith being first duly sworn, hereby depose and state as
follows:

INTRODUCTION AND AGENT BACKGROUND

1. 1 make this affidavit in support of an application for a search warrant under
Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(1)(A) for information about the
location of the cellular telephone assigned call number 956-624-0140, (the “Target Cell
Phone”), whose service provider is T-MOBILE, a wireless telephone service provider
headquartered at Parsippany, NJ. The Target Cell Phone is described herein and in Attachment
A, and the location information to be seized is described herein and in Attachment B.

2. Because this warrant seeks the prospective collection of information, including
cell-site location information, that may fall within the statutory definitions of information
collected by a “pen register” and/or “trap and trace device,” see 18 U.S.C. § 3127(3) & (4), the
requested warrant is designed to also comply with the Pen Register Act. See 18 U.S.C. §§ 3121-
3127. The requested warrant therefore includes all the information required to be included in an
order pursuant to that statute. See 18 U.S.C. § 3123(b)(1).

a5 I am a Task Force Officer with the Drug Enforcement Administration, and have

been since January 2019. I am also a police officer with the Tipp City Police Department, and
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 6 of 13 PAGEID #: 6

have been since 2011. In 2011, I attended the Ohio Police Officer’s Training academy which
consisted of over 500 hours of training in conducting basic police operations. Since then, I have
attended many hours of training to include drug trafficking investigations, handling confidential
sources, conducting undercover operations, conducting mobile, static, foot and electronic
surveillance, conducting tactical entry and vehicle arrest operations, defensive tactics, firearms,
and additional aspects of conducting investigations. I have been assigned to the DEA Dayton
Resident Office since January 2018. Prior to employment with the DEA, I was a sworn Law
Enforcement Officer of the State of Ohio charged with the duty to investigate criminal activity
and enforce the criminal laws of the State of Ohio, and employed by the Tipp City Police
Department. For approximately the last three years, I have been assigned to the Tipp City Police
Department Detective Section. | am also a sworn special deputy with the Miami County Sheriff's
Office in order to work with their narcotics investigation unit, since 2017.

4, Since the time of my assignment with the DEA, and during time spent as a Tipp
City Police Officer, I have been involved in narcotics related arrests, executed search warrants
that resulted in the seizure of narcotics, and participated in undercover narcotics purchases.
Through training and experience, I am familiar with the manner in which persons involved in the
illicit distribution of controlled substances often operate. These people usually attempt to conceal
their identities, as well as the locations at which they reside, and where they store controlled
substances and the illegal proceeds derived therefrom.

5. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 7 of 13 PAGEID #: 7

6. Based on the facts set forth in this affidavit, there is probable cause to believe that
violations of Title 21, U.S.C. §§ 841, 846 (distribution of a controlled substance and conspiracy
to commit the same); and Title 21, U.S.C. § 843 (use of a communications facility to commit a
felony) have been committed, are being committed, and will be committed by Rogelio ZUNIGA.

7. The court has jurisdiction to issue the proposed warrant because it is a “court of
competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the Court a district court of

the United States that has jurisdiction over the offense being investigated, see 18 U.S.C. §

2711(3)(A)(i).
PROBABLE CAUSE
8. I submit, based on the facts below, that there is probable cause to believe that the

Target Cell Phone, as described above, is being utilized by Rogelio ZUNIGA, who is a member

of a drug trafficking organization (DTO) operating in the Dayton, Ohio area.

9. In July, 2018, Members of the DEA Dayton Resident Office (DRO) conducted a
debrief with a confidential source (hereafter referred to as CS-1) whose identity is known to law
enforcement.’ CS-1 has worked with law enforcement in the past and has provided reliable and
credible information that has led to prosecutions. During the debrief, the CS-1 provided
information about the drug trafficking activities of Rogelio “Roy” ZUNIGA. The CS-1 stated
that ZUNIGA was a high level cocaine distributor. The CS stated that ZUNIGA will come from

Texas to the property at 2006 W. State Route 571 in Tipp City, Ohio and stay for the duration of

 

' This CS has previously been arrested for Theft and Driving under the Influence. The CS is
currently working with law enforcement authorities for monetary consideration.

2
a
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 8 of 13 PAGEID #: 8

harvest season, which is typically from late summer to late fall. CS-1 had been living at the

location intermittently and witnessed ZUNIGA’s business.

10. Asa Tipp City Police Officer and Dayton DEA Task Force Officer, I am familiar
with the location provided by CS-1 and know that this address is a camp with numerous housing
units on it, specifically for workers that migrate to the area to work in local farms and a local

tomato cannery.

Il. CS-1 provided information that ZUNIGA will bring a large amount of cocaine
with him to the camp at the beginning of the season and sell it to the camp workers. CS-1 also
stated that ZUNIGA will act as a loan shark on the camp and that ZUNIGA holds a higher

position within Tip Top Canning, a local tomato cannery in the Tipp City area.

12. In August, 2018, Miami County Sheriffs Office investigators conducted a debrief
if a confidential source (hereafter referred to as CS-2,) whose identity is known to law
enforcement. CS-2 has been working with law enforcement for consideration in a case and has
provided reliable and credible information in the past. During the debrief, CS-2 corroborated CS-
1*s information that ZUNIGA will come from Texas sometime in the early fall with cocaine and
methamphetamine to sell at the camp during the working season. CS-2 also described that CS-
2’s house had been searched by law enforcement, CS-2 took kilogram quantities of
methamphetamine to ZUNIGA and a man named “Lute” at the camp, for them to watch until the
investigation died down. According to CS-2, “Lute” is the man in charge of the camp.

13, On July 22, 2019, Members of the DRO debriefed a confidential source (hereafter
referred to as CS-3) whose identity is known to law enforcement. CS-3 has worked with law

enforcement in the past for monetary consideration and has provided reliable and credible

4
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 9 of 13 PAGEID #: 9

information on multiple occasions. During the debrief, CS-3 stated that “Roy” will be coming to
the camp at 2006 State Route 571 in Tipp City, Ohio, in the near future. CS-3 stated that when
“Roy” comes, he will bring multiple kilograms of cocaine and pounds of methamphetamine.
CS-3 stated that “Roy” likes to sell all of the narcotics he brings quickly to the workers at the
camp, so that they owe him money throughout the working season. CS-3 provided the phone
number 956-624-0140 as a current number for “Roy”. CS-3 stated that this is the only phone
number that is known for Roy and that Roy uses it for drug trafficking, based on conversations
CS-3 has had with ZUNIGA in the past.

14. Members of DRO searched Facebook for the 956-624-0140 phone number.
Investigators observed that the 956-624-0140 number was attached to an account in the name
Palmira Roy Zuniga. Investigators showed a profile photo from that Palmira Roy Zuniga account

to CS-3. CS-3 immediately identified the male in the profile photo as “Roy”.

LS: CS-3 contacted investigators on August 5, 2019 and informed them that Roy will
be leaving Texas on Saturday, August 10, 2019 and arrive in Tipp City on Sunday, August 11,

2019.

16. All three cooperating sources provided information that ZUNIGA has been
conducting this same business for several years. This information was corroborated by Tipp City
Police reports reflecting that Rogelio ZUNIGA was stopped in 2017 for a minor traffic offense
and listed his address as 2006 W. State Route 571. Additionally, based on my experience
working in the area, I have knowledge of previous drug activity at that address during the

working season.
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 10 of 13 PAGEID #: 10

L?, In summary, I believe the Target Cell Phone is currently being used by Rogelio
“Roy” ZUNIGA in the distribution of drugs and that ZUNIGA will be travelling to Ohio with

drugs.

18. | know that collecting location information on the Target Cell Phone for a 30 day
period will assist investigators in locating ZUNIGA as he travels from Texas to Ohio with drugs.
Further, the information requested will assist the law enforcement in identifying co-conspirators
and additional cellular devices owned and operated by the co-conspirators.

19. In my training and experience, I have learned that T-MOBILE is a company that
provides cellular telephone access to the general public. I also know that providers of cellular
telephone service have technical capabilities that allow them to collect and generate information
about the locations of the cellular telephones to which they provide service, including E-911
Phase II data, also known as GPS data or latitude-longitude data and cell-site data, also known as
“tower/face information” or cell tower/sector records. E-911 Phase II data provides relatively
precise location information about the cellular telephone itself, either via GPS tracking
technology built into the phone or by triangulating on the device’s signal using data from several
of the provider’s cell towers. Cell-site data identifies the “cell towers” (i.e., antenna towers
covering specific geographic areas) that received a radio signal from the cellular telephone and,
in some cases, the “sector” (i.e., faces of the towers) to which the telephone connected. These
towers are often a half-mile or more apart, even in urban areas, and can be 10 or more miles
apart in rural areas. Furthermore, the tower closest to a wireless device does not necessarily
serve every call made to or from that device. Accordingly, cell-site data is typically less precise

that E-911 Phase II data.
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 11 of 13 PAGEID #: 11

20. Based on my training and experience, I know that T-MOBILE can collect E-911
Phase II data about the location of the Target Cell Phone, including by initiating a signal to
determine the location of the Target Cell Phone on T-MOBILE ’s network or with such other
reference points as may be reasonably available.

21; Based on my training and experience, I know that T-MOBILE can collect cell-site
data about the Target Cell Phone. Based on my training and experience, I know that for each
communication a cellular device makes, its wireless service provider can typically determine: (1)
the date and time of the communication; (2) the telephone numbers involved, if any; (3) the cell
tower to which the customer connected at the beginning of the communication; (4) the cell tower
to which the customer connected at the end of the communication; and (5) the duration of the
communication. I also know that wireless providers such as T-MOBILE typically collect and
retain cell-site data pertaining to cellular devices to which they provide service in their normal
course of business in order to use this information for various business-related purposes.

AUTHORIZATION REQUEST

22. Based on the foregoing, I request that the Court issue the proposed search
warrant, pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c).

Za I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal
Procedure 41(f)(3), that the Court authorize the officer executing the warrant to delay notice until
30 days after the collection authorized by the warrant has been completed. There is reasonable
cause to believe that providing immediate notification of the warrant may have an adverse result,
as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of the
Target Cell Phone would seriously jeopardize the ongoing investigation, as such a disclosure

would give that person an opportunity to destroy evidence, change patterns of behavior, notify

7
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 12 of 13 PAGEID #: 12

confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). As further specified in
Attachment B, which is incorporated into the warrant, the proposed search warrant does not
authorize the seizure of any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the
extent that the warrant authorizes the seizure of any wire or electronic communication (as
defined in 18 U.S.C. § 2510) or any stored wire or electronic information, there is reasonable
necessity for the seizure for the reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

24. I further request that the Court direct T-MOBILE to disclose to the government
any information described in Attachment B that is within the possession, custody, or control of
T-MOBILE. | also request that the Court direct T-MOBILE to furnish the government all
information, facilities, and technical assistance necessary to accomplish the collection of the
information described in Attachment B unobtrusively and with a minimum of interference with
T-MOBILE’s services, including by initiating a signal to determine the location of the Target
Cell Phone on T-MOBILE’s network or with such other reference points as may be reasonably
available, and at such intervals and times directed by the government. The government shall
reasonably compensate T-MOBILE for reasonable expenses incurred in furnishing such facilities
or assistance.

25. I further request that the Court authorize execution of the warrant at any time of
day or night, owing to the potential need to locate the Target Cell Phone outside of daytime
hours.

26. — | further request that the Court order that all papers in support of this application,
including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of
Case: 3:19-mj-00475-MJN Doc #: 1 Filed: 08/08/19 Page: 13 of 13 PAGEID #: 13

the targets of the investigation. Accordingly, there is good cause to seal these documents
because their premature disclosure may seriously jeopardize that investigation.
A&thony Smith
Task Force Officer

DEA

 

 

HON. GHAEL B ey AN
‘Sirebsrat Magis PRATE JUDGE

  
